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07                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
08                                     AT SEATTLE

09 UNITED STATES OF AMERICA,              )            CASE NO.: 05-442M
                                          )
10         Plaintiff,                     )
                                          )
11         v.                             )            DETENTION ORDER
                                          )
12   SHANE MENZEL,                        )
                                          )
13         Defendant.                     )
     ____________________________________ )
14

15 Offense charged:

16          Conspiracy to Import and Distribute Marijuana

17 Date of Detention Hearing:     September 14, 2005

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 that no condition or combination of conditions which defendant can meet will reasonably assure

21 the appearance of defendant as required and the safety of other persons and the community.

22         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

23          (1)    Defendant and two co-defendants are charged with conspiring to import and

24 distribute marijuana from Canada to the United States. The Complaint alleges that on September

25 6, 2005, defendants McCluskey and Humphrey cleared a landing zone for a helicopter in a remote

26 area of Skagit County, Washington, and then drove separately to the area on September 7, 2005,

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 meeting a helicopter operated by defendant Shane Menzel. The Complaint further alleges that

02 vacuum-sealed bags of marijuana were off-loaded from the helicopter, at which time the three

03 individuals were arrested. This defendant is alleged to have reported that he participated in three

04 prior similar smuggles with Humphrey and McCluskey.

05          (2)     The allegations of the Complaint depict a sophisticated marijuana smuggling

06 operation that required careful planning and co-ordination, and the utilization of a Robinson R-22

07 helicopter entering United States airspace without permission, flying at a low altitude in order to

08 avoid detection. The alleged admissions by defendant Menzel describe close involvement by all

09 three defendants in this on-going scheme. The AUSA proffers that federal agents had surveilled

10 a helicopter drop on five previous occasions, and that other landing areas had been cleared in the

11 vicinity as well. The access of defendants to the considerable resources necessary to carry out the

12 scheme, and the inference that other individuals, still at large, must necessarily have been involved

13 in the scheme, leads to the conclusion that the defendants pose a significant risk of flight as well

14 as a risk of danger.

15          (3)     All three defendants are Canadian citizens, with significant ties to their communities

16 but no ties whatsoever to this District. Mr. Menzel is trained as a helicopter pilot. He has been

17 unemployed since approximately January of February 2005.

18          (4)     The AUSA argues that the quantity of marijuana involved in the conspiracy is in

19 excess of 100 kilograms, and therefore invokes the rebuttable presumption against defendant as

20 to both dangerousness and flight risk, under 18 U.S.C. §3142(e). However, the undersigned has

21 not assumed the application of the rebuttable presumption in considering the government’s motion

22 to detain the defendants.

23          (5)     The defendant poses a risk of nonappearance because he is not a United States

24 citizen, has no ties to this District, is unemployed, and is a licensed helicopter pilot. The

25 sophisticated nature of the alleged enterprise, including the utilization of a helicopter, also leads

26 to that to the conclusion that this defendant poses a risk of nonappearance as well as a risk of

     DETENTION ORDER                                                                              15.13
     18 U.S.C. § 3142(i)                                                                       Rev. 1/91
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01 danger.

02           (6)   There does not appear to be any condition or combination of conditions that will

03 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

04 to other persons or the community.

05 It is therefore ORDERED:

06           (1)   Defendant shall be detained pending trial and committed to the custody of the

07                 Attorney General for confinement in a correction facility separate, to the extent

08                 practicable, from persons awaiting or serving sentences or being held in custody

09                 pending appeal;

10           (2)   Defendant shall be afforded reasonable opportunity for private consultation with

11                 counsel;

12           (3)   On order of a court of the United States or on request of an attorney for the

13                 Government, the person in charge of the corrections facility in which defendant is

14                 confined shall deliver the defendant to a United States Marshal for the purpose of

15                 an appearance in connection with a court proceeding; and

16           (4)   The clerk shall direct copies of this Order to counsel for the United States, to

17                 counsel for the defendant, to the United States Marshal, and to the United States

18                 Pretrial Services Officer.

19           DATED this 15th day of September, 2005.



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                                                  Mary Alice Theiler
22                                                United States Magistrate Judge

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     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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